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11                       UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
     JACQUELINE DEAN, on Behalf of              Case No. 5:15-CV-00107-JGB(DTBx)
14
     Herself and all Others Similarly Situated,
15                                              PLAINTIFF’S MEMORANDUM IN
                            Plaintiff,          SUPPORT OF MOTION FOR CLASS
16                                              CERTIFICATION
           v.
17                                              Date: September 12, 2016
     COLGATE-PALMOLIVE CO.                      Time: 9:00 a.m.
18
                                                Courtroom 1
19                          Defendant.
20                                             Hon. Jesus G. Bernal
21

22

23                               REDACTED VERSION
24

25

26

27

28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION
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 1                                  I.    INTRODUCTION
 2         Colgate has made millions of dollars selling Optic White toothpaste based on
 3   false hope.
 4

 5

 6           . Since October 2013, the Optic White labels at issue have uniformly stated
 7   that Optic White “Goes Beyond Surface Stain Removal To Deeply Whiten” teeth.
 8   See Class Cert. Stip., Dkt. No. 45, ¶¶ 1, 5. Since February 2014, the Optic White
 9   Platinum product labels at issue have uniformly represented that Optic White
10   Platinum “Deeply Whitens More Than 3 Shades.” Id. at ¶¶ 2, 9-10. Both products
11   contain the same supposed whitening ingredient “1% hydrogen peroxide.” Id. at ¶
12   13. But the 1% hydrogen peroxide in Optic White does not go beyond surface stain
13   removal, and does not deeply whiten teeth. See e.g., Compl., Dkt. No. 1, ¶¶ 1, 15-25.
14   Based on Colgate’s false and misleading “deep whitening” claims, Plaintiff
15   Jacqueline Dean and the class members she seeks to represent bought Optic White at
16   a premium price. Thus, Plaintiff seeks certification of a class defined as follows:
17         All persons in California, Delaware, the District of Columbia, Kansas,
           Missouri, New Jersey, Ohio, Utah, Virginia and West Virginia who purchased
18         Optic White2 on or after October 1, 2013, or who purchased Optic White
           Platinum3 on or after February 1, 2014.
19
           As detailed below, Plaintiff has met each requirement of Rule 23(a), Rule
20

21   1
       All Exhibits (hereafter “Ex.” or “Exs.”) referenced herein are attached to the
22   Declaration of Annick M. Persinger in Support of Class Certification.
     2
       The Optic White toothpaste at issue includes Sparkling White, Icy Fresh, Enamel
23   White, Sparkling Mint, and Cool Mild Mint. See Class Cert. Stip., Dkt No. 45, ¶¶ 1,
24   5. Plaintiff has excluded from the class purchasers who bought Optic White before
     October 2013 because the labels did not include the claims at issue. See id. ¶¶ 6-7.
25   3
       The Optic White Platinum toothpaste at issue includes White & Radiant (formerly
26   known as Optic White Platinum Whiten & Protect), and Lasting White (formerly
     known as Optic White Platinum Whiten & Protect). See Class Cert. Stip., Dkt. No.
27   45, ¶ 2; id. ¶¶ 9-10. Plaintiff has excluded from the class products in the Platinum
     line that contain different concentrations of hydrogen peroxide, and that do not have
28   the labeling claims at issue. See id. at ¶¶ 2, 8.
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                1
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 1   23(b)(3), and Rule 23(b)(2) and this Court should grant class certification.
 2     II. PLAINTIFF’S CLAIMS ARE SUSCEPTIBLE TO COMMON PROOF
 3            A.    Colgate’s Deep Whitening Claims Are Material to
                    Consumers
 4
              Whitening toothpaste is the number one sought after type of toothpaste.
 5
                                                      Since 2010, sales of whitening
 6
     toothpastes have been over $2 billion a year and are continuing to grow.
 7

 8

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15
                To capitalize on consumer demand for whitening, in 2011, Colgate
16
     introduced Colgate Optic White toothpaste.
17

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27   4
      All excerpts to the Gallagher Deposition referenced herein are attached to the
28   Persinger Declaration as Exhibit 1.
         PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                       2
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 1
 2

 3

 4

 5

 6                                                         in October 2013, Colgate
 7   introduced                                                  : Goes Beyond Surface
 8   Stain Removal To Deeply Whiten.                    ; Class Cert. Stip., Dkt. No. 45, ¶ 5
 9   (introduced October 2013).
10

11

12

13

14

15                   it’s clear that reasonable consumers attach importance to the
16   labeling statements at issue in determining whether to purchase Optic White.
17   Kwikset Corp. v. Sup. Ct., 51 Cal. 4th 310, 332-33 (stating that a misrepresentation
18   “is judged to be material” if “‘a reasonable man would attach importance to its
19   existence or nonexistence in determining his choice of action’”); McCrary v.
20   Elations Co., LLC, 2014 WL 1779243, at *14 (C.D. Cal. Jan. 13, 2014); Delarosa v.
21   Boiron, Inc., 275 F.R.D. 582, 586 (C.D. Cal. 2011); Forcellati v. Hyland’s, Inc.,
22   2014 WL 1410264, at *11 (C.D. Cal. Apr. 9, 2014);
23                                                                                          ;
24   Dean Decl. ¶ 5 (explaining that she bought Optic White based on the “Deep
25   Whitening” claims on the label). Indeed, as discussed in detail below,
26                                                                 purchasers pay a
27            price premium over other whitening toothpastes because of the “Goes
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                               4
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 1   Beyond Surface Stains to Deeply Whiten” labeling claim.
 2       Thus, it is undeniable that Colgate’s “Deeply Whiten(s)” claims are objectively
 3   material to consumers. Since Colgate successfully used the representations at issue
 4   to sell Optic White at a premium price, issues of materiality and reliance are easily
 5   subject to class-wide proof in this case.
 6
           B.     Common Evidence Will Show That the Products Are
 7                Ineffective for Deep Whitening
           Contrary to Colgate’s labeling and advertising representations, the 1%
 8
     hydrogen peroxide in Optic White does not deeply or intrinsically whiten teeth.
 9
     Toothpaste does not whiten intrinsic stains because peroxide is not in contact with
10
     consumers’ teeth for long enough, and because toothpaste does not contain enough
11
     peroxide to deeply whiten teeth. See Compl. ¶¶ 17-22, 24; Dean v. Colgate-
12
     Palmolive Co., 2015 WL 3999313, at fn. 5 (Bernal J.) (C.D. Cal. June 17, 2015)
13
     (“[T]he Complaint cites a specific study that concluded that toothpastes with one
14
     percent hydrogen peroxide (the amount in Optic White) do not have a clinically
15

16
     significant whitening effect. … Moreover, the other expert statements indicate that

17
     hydrogen peroxide toothpastes, by their nature, cannot deeply whiten teeth; in other

18
     words, Optic White’s ‘specific formulation’ would not matter.”). For example,

19
     P&G explained Optic White’s inability to deeply whiten teeth as follows:
           To enable peroxide to intrinsically whiten teeth, it must be (1) held in
20         sustained contact with the tooth surface for an extended period of time
21         and be (2) protected from saliva. As Colgate itself acknowledges,
           saliva contains a high level of the enzyme catalase, which rapidly
22         converts peroxide into gaseous oxygen and water, even as salivary
           flows wash away the peroxide. These decomposition and dilution
23         effects are well documented in peer review literature and have been
24
           publicly accepted by Colgate’s scientists and engineers. Clinical
           research has also proven the point. ….
25         Optic White has a very low concentration of peroxide, remains in the
           vicinity of the tooth surface for a very short period of time (typically,
26
           2 minutes or less per brushing), over time provides much less
27         aggregate exposure of peroxide to the tooth surface (whitening
           efficiency), and lacks a barrier to protect against the effects of saliva.
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                5
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 1   See Ex. 101 at P&G 764-767; see also Sagel, Paul A, Colgate Optic White In Vivo
 2   Peroxide Kinetics, Ex. 102 at P&G 630 (“[W]ithout strip protection, the peroxide
 3   concentration [in Optic White] drops immediately and saliva begins to decompose
 4   peroxide into oxygen and water as soon as you start brushing with more than 50%
 5   gone after 15 seconds.”). In a patent application for a non-toothpaste whitening
 6   product, Colgate likewise explained that “saliva, contains high concentrations of the
 7   enzyme catalase, which on contact, rapidly decomposes the peroxide” and that “the
 8   low viscosities of aqueous peroxide solutions do not allow the peroxide whitening
 9   agent to remain in contact with the teeth for as long as is necessary to effect
10   substantive whitening because of the constant flushing effects of salivary secretions.”
11   Ex. 103 at P&G 18.
12         P&G also conducted clinical studies to evaluate the intrinsic whitening
13   performance of Optic White. Those study results showed that Optic White did not
14   provide an intrinsic whitening benefit. See e.g. Cronin M, Effects of H202
15   Containing Whitening Dentifrice on Post-prophylaxis Tooth Color, Ex. 104 (“After 1
16   and 4 weeks of product use, neither [Crest Cavity Protection nor Optic White]
17   demonstrated improvement in tooth color relative to Baseline”); Ex. 101 at P&G
18   767, 795-797 (same); Garcia-Godoy, 2-Week Comparative Efficacy of Whitening
19   Strips and Whitening Paste, Ex. 105 (“use of [Optic White] whitening paste did not
20   demonstrate significant changes”); Biesbrock A.R., Short-Term Efficacy of Marketed
21   Whitening Toothpaste Relative to Negative Control, Ex. 106 (“After 1 week of use,
22   the whitening toothpaste [Optic White] did not demonstrate significant improvement
23   of yellowness and lightness color parameters.”); Farrell S., Whitening Efficacy of
24   9.5% H202 Strips and 1% H202 Paste, Ex. 107.
25         Whitening claims like Colgate’s “Deeply Whiten(s)” representations are also
26   misleading and confusing to consumers
27
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                             6
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 3         While Colgate may dispute the merits of Plaintiff’s claims by arguing that its
 4   (flawed) studies on Optic White show a whitening effect, that contention would not
 5   disturb the conclusion that common issues of fact predominate. In other words, both
 6   parties intend to use the results of clinical studies and expert testimony to answer the
 7   common question of whether Optic White is effective for deeply whitening teeth.
 8   Since Optic White’s “efficacy can be established on a class-wide basis through
 9   clinical studies and expert testimony,” a determination of the truth or falsity of
10   Colgate’s deep whitening claims “will resolve an issue that is central to the validity
11   of each one of the claims in one stroke.” See Forcellati, 2014 WL 1410264, at *9.
12   Plaintiff has shown that common factual issues predominate.
13
           C.     Class-Wide Relief Can Be Proved on a Common Basis
14         According to the Ninth Circuit, “plaintiffs must be able to show that their
15   damages stemmed from the defendant’s actions that created the legal liability.”
16   Leyva v. Medline Indus., Inc., 716 F.3d 510, 514 (9th Cir. 2013). Damage
17   calculations for individual class members do not defeat certification. Id. at 514-15
18   (interpreting Comcast Corp. v. Behrend, 133 S.Ct. 1426, 1435 (2013) and concluding
19   that the district court abused its discretion by basing “manageability concerns on the
20   need to individually calculate damages”); see also Jimenez v. Allstate Ins. Co., 765
21   F.3d 1161, 1167-69 (9th Cir. 2014) (“So long as the plaintiffs were harmed by the
22   same conduct, disparities in how or by how much they were harmed did not defeat
23   class certification.”). Additionally, according to controlling Ninth Circuit precedent,
24   Plaintiff need only propose a valid method for calculating damages, and need not
25   perform an actual calculation of damages. Leyva, 716 F.3d at 514 (stating that at
26   class certification, a plaintiff need only establish that “damages could feasibly and
27   efficiently be calculated once the common liability questions are adjudicated.”
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                 7
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 1   (emphasis added)); In re Cathode Ray Tube (CRT) Antitrust Litig., 2013 WL
 2   5429718, at *22 (N.D. Cal. June 20, 2013) (“Comcast did not articulate any
 3   requirement that a damage calculation be performed at the class certification stage.”
 4   (citations omitted)); Brown v. Hain Celestial Group, Inc., 2014 WL 6483216, at *19
 5   (N.D. Cal. Nov. 14, 2014) (“The point for Rule 23 purposes is to determine whether
 6   there is an acceptable class-wide approach, not to actually calculate under that
 7   approach before liability is established.”). Often, proposing a method for calculating
 8   damages “will impose only a very limited burden.” Lilly v. Jamba Juice Co., 308
 9   F.R.D. 231, 244 (N.D. Cal. 2014) (relying on Leyva, 716 F.3d at 514). As such,
10   Plaintiff’s damages experts need not show that their methods will work with
11   certainty at this time. Chavez v. Blue Sky Natural Beverages Co., 268 F.R.D. 365,
12   379 (N.D. Cal. 2010); In re Diamond Foods, Inc., Sec. Litig., 295 F.R.D. 240, 252
13   (N.D. Cal. 2013); In re High-Tech Employee Antitrust Litig., 289 F.R.D. 555, 582-83
14   (N.D. Cal. 2013).
15         Here, Plaintiff asserts that Optic White purchasers paid a premium based on
16   Colgate’s misrepresentation that Optic White “Deeply Whiten(s)” teeth. See e.g.,
17   Compl. ¶¶ 51, 63, 72, 80, 88, 95. Accordingly, she asserts that each member of the
18   class is entitled to a reimbursement of the price premium attributable to Colgate’s
19   deep whitening claims. See id.                                        damages can
20   easily be calculated once common liability issues are adjudicated because
21                          the price premium attributable to the “Deeply Whiten(s)”
22   claims at issue.
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     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                              8
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 7                                                     Sukumar Decl. ¶¶ 6-15 (describing
 8   how choice based conjoint analysis measures the value of a particular feature of a
 9   product); Weir Decl. ¶¶ 20-29 (explaining that conjoint analysis is used to determine
10   the price of an attribute of a given product).
11

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19                                                          see also Weir Decl. ¶¶ 12-17
20   (explaining product differentiation and                          that claims are critical
21   to supporting higher price points).
22         Plaintiff’s expert, Dr. R. Sukumar, an expert in market research and statistics
23   with extensive experience using conjoint analysis,
24                                         concluded that                        the “Deeply
25   Whiten(s)” claims at issue command a             price premium. See Sukumar Decl. ¶¶
26   23-25; id. ¶¶ 1-5 (detailing qualifications); see also Weir Decl. ¶¶ 32-33. Plaintiff’s
27   expert, Colin B. Weir, an expert in economics, econometrics, and statistical analysis,
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                9
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 1   proposes multiplying the price premium                           , by the number of
 2   units purchased by each class member to determine both total and individual
 3   damages. See Weir Decl. ¶¶ 29-33, ¶¶ 59-62 (calculating the percentage price
 4   premium                                                      and illustrating how that
 5   percentage would be applied to sales of Optic White);
 6

 7         Additionally, Mr. Weir explains that Plaintiff could also perform her own
 8   conjoint analysis or contingent valuation to calculate the price premium attributable
 9   to the claims at issue. Id. at ¶¶ 34-55. Mr. Weir also details how those statistical
10   methodologies could be applied to the facts of this case. Id. Plaintiff’s proposal to
11   use conjoint analysis or, alternatively, contingent valuation to calculate the price
12   premium attributable to the claims at issue provides a reliable methodology for
13   calculating class-wide damages that is tied to Plaintiff’s theory of liability – that
14   Plaintiff and the class are entitled to restitution of the premium they paid based on
15   Colgate’s false and misleading deep whitening claims. Indeed, numerous courts
16   have accepted both conjoint analysis and contingent valuation as reliable methods for
17   calculating price premiums on a class wide basis in consumer class actions.
18         For example, in a consumer class action case where plaintiffs proposed using
19   conjoint analysis to calculate the price premium associated with the term “natural
20   cheese,” Judge Kronstadt of this District explained:
21
           [A]s required by Comcast, Plaintiffs have presented a method for
22         calculating damages that is tied to their theory of liability. They
           contend that each class member paid more for the Product because the
23         term “natural cheese” was used to describe it. From this they argue
24
           that damages can be measured by applying the analytical
           methodology proffered by Bodapati, i.e., the choice model theory
25         using marketplace and conjoint experiment data sets. This dollar
           amount can then be multiplied by the number of units purchased by
26         each class member to determine both total and individual damages.
27
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                 10
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 1   Morales v. Kraft Foods Group, Inc., Order Re: Plaintiff’s Motion for Class
 2   Certification, Case No. 14-cv-04387, Dkt. No. 78 (Kronstadt, J.) (C.D. Cal. Jun. 23,
 3   2015), RJN Ex. A. The facts here are identical.
 4         Similarly, in Guido v. L’Oreal, USA, Inc., 2014 WL 6603730, at *5, *10-*14
 5   (C.D. Cal. July 24, 2014), Judge Snyder granted plaintiffs’ motion for class
 6   certification, and concluded that the plaintiffs proposed conjoint analysis that would
 7   calculate the price premium attributable to a flammability warning on a hair product
 8   complied with Comcast and satisfied Rule 23’s predominance requirement.
 9   Likewise, in Brown, the court concluded that the plaintiffs had plausibly shown that
10   damages could be calculated where the plaintiffs proposed statistical methods,
11   including conjoint analysis, to control for the effect of traits of cosmetic products.
12   Brown, 2014 WL 6483216, at *19; see also Hamilton Expert Decl., Brown v. Hain
13   Celestial Group, Inc., Case No. 11-cv-03082, Dkt. No. 242-16, ¶ 48, Ex. 108
14   (discussing statistical methods such as conjoint analysis to calculate damages); see
15   also Microsoft v. Motorola, Inc., 904 F.Supp.2d 1109, 1119-20 (W.D. Wa. 2012)
16   (finding Dr. R. Sukumar’s conjoint analysis to value certain features offered in
17   Microsoft’s Xbox 360 console sufficiently reliable).
18         Courts in other circuits also accept conjoint analyses as a method for
19   calculating class-wide damages. See Khoday v. Symantec Corp., 2014 WL 1281600,
20   at *33 (D. Minn. Mar. 13, 2014) (finding that damages were capable of measurement
21   on a class-wide basis where plaintiffs presented a conjoint analysis “as a means to
22   isolate the value for specific convenience features of the download insurance
23   products”); In re Scotts EZ Seed Litig., 304 F.R.D. 397, 413-15 (S.D.N.Y. 2015)
24   (accepting expert’s proposal to “isolate the premium associated with the 50% thicker
25   claim using one of three statistical methods: hedonic regression, a contingent
26   valuation study, or a conjoint analysis”); Sanchez-Knutson v. Ford Motor Co., 310
27   F.R.D. 529, 538-39 (S.D. Fl. 2015) (“The Court accepts Plaintiff’s proffered expert’s
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                 11
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 1   proposed conjoint analysis damages model for purposes of class certification …”).5
 2            The use of contingent valuation has also been accepted as a reliable
 3   methodology for calculating price premiums on a class-wide basis in consumer class
 4   actions. See e.g., In re Toyota Motor Corp. Hybrid Brake Mktg., Sales Practices &
 5   Products Liab. Litig., 2012 WL 4904412, at *3-4 (C.D. Cal. Sep. 20, 2012) (“Dr.
 6   Williams’ proposed methods of analysis, i.e. hedonic regression, contingent
 7   valuation, and discrete choice, are generally accepted, have been tested, and are part
 8   of peer-reviewed studies.”); In re Scotts EZ Seed Litig., 304 F.R.D. at 413-15.
 9            Like the courts that have accepted conjoint analysis and contingent valuation
10   as reliable methods for calculating class-wide damages, this Court should find that
11   Plaintiff’s damages theory – predicated on her assertion that class members are
12   entitled to restitution of the price premium they paid for Optic White – is consistent
13   with Plaintiff’s liability theory in accordance with Comcast and Leyva.
14   III. CERTIFYING A TEN-JURISDICTION CLASS IS APPROPRIATE
15            When seeking certification of a multistate class under California law, a
16   plaintiff bears the initial burden to show that application of California law is
17   constitutional. Mazza v. Am. Honda Motor Co., 666 F.3d 581, 589-90 (9th Cir.
18   2012). Importantly, “unless … a [material] conflict exists, it would be impossible
19   for the application of forum law to violate the Constitution.” In re Computer
20   Memories Sec. Litig., 111 F.R.D. 675, 686 (N.D. Cal. 1986); Phillips Petroleum Co.
21   v. Shutts, 472 U.S. 797, 816 (1985) (“There can be no injury in applying Kansas law
22   if it is not in conflict with that of any other jurisdiction connected to this suit.”).
23   5
      Cf. Saavedra v. Eli Lilly and Co., 2014 WL 7338930, *5 (C.D. Cal. Dec. 18, 2014)
24   (distinguishing the use of conjoint analysis in a prescription drug market from the
     use of conjoint analysis to value an attribute in a consumer market, and stating that:
25   “In an ordinary market, price is a proxy for value. Thus, the price paid for a good
     that was misrepresented to have a given characteristic can serve as a proxy for the
26   value of a product with the misstated characteristic. Therefore, applying Dr. Hay’s
27
     refund ratio [determined via conjoint analysis] to the price paid by consumers in such
     a market would yield a valid approximation of the value lost due to the
28   misrepresentation.”).
         PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                              12
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 1   Under these principles, this Court should apply California’s express warranty law to
 2   a ten jurisdiction class that includes: California, Delaware, the District of Columbia,
 3   Kansas, Missouri, New Jersey, Ohio, Utah, Virginia, and West Virginia. See Melgar
 4   v. Zicam LLC, 2016 WL 1267870, at *2, *6 (E.D. Cal. Mar. 30, 2016) (certifying a
 5   class based on California express warranty law consisting of the same ten
 6   jurisdictions); see also Khorrami v. Lexmark Int’l Inc., 2007 WL 8031909, at *3-*4
 7   (C.D. Cal. Sept. 13, 2007) (noting that a plaintiff can “limit or subdivide the class” to
 8   comport with due process where some class members “live in states with laws that
 9   might ‘conflict in any material way’ with California law” (citing Shutts, 472 U.S. at
10   816)); see also Mazza, 666 F.3d at 594 (noting possibility of grouping states with
11   similar laws for purposes of class certification).
12         With regard to Plaintiff’s claim for breach of express warranty, Plaintiff has
13   identified two potential differences in state laws: privity and reliance. A conflict
14   only arises if differences in state law are material, that is, if they make a difference
15   in this litigation. Mazza, 666 F.3d at 590; see also Bruno, 280 F.R.D. at 547
16   (declining to decertify a nationwide class after Mazza because defendant failed to
17   show a material difference in the state laws at issue). Under the facts of this case,
18   Plaintiff’s express warranty claim survives the reliance and privity analyses of each
19   of the ten jurisdictions.
20         As to reliance, the laws of the nine other jurisdictions in the proposed class do
21   not materially differ from California’s express warranty law. The majority of
22   California courts find that individual reliance is not required for a breach of express
23   warranty claim under California law. See Weinstat v. Dentsply International, Inc.,
24   180 Cal. App. 4th 1213, 1227 (2010); Brown v. Hain Celestial Group, Inc., 913 F.
25   Supp. 2d 881, 899-900 (N.D. Cal. 2012) (“Proof of reliance on specific promises is
26   not required”). Even if the Court finds that reliance by a plaintiff is required, class
27   treatment of California breach of express warranty claims is still “appropriate where
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                   13
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 1   a plaintiff demonstrates that the misrepresentations are material to a reasonable
 2   consumer.” See In re ConAgra Foods, 90 F. Supp. 3d 919, 985 (C.D. Cal. 2015).
 3   Plaintiff satisfies any reliance requirement because she was exposed to and relied on
 4   the representations at issue. Dean Decl. ¶ 5; see also Forcellati, 2014 WL 1410264,
 5   at *9. The representations at issue in this case are also material to reasonable
 6   consumers. See supra § II.A. Further, Plaintiff has shown that every purchaser
 7   viewed the statements on the labels by virtue of the prominence of that statement on
 8   the product labels at the time of purchase. See Astiana v. Kashi Co., 291 F.R.D. 493,
 9   500 (S.D. Cal. 2013) (“Because the alleged misrepresentations appeared on the
10   actual packages of the products purchased, there is no concern that the class includes
11   individuals who were not exposed to the misrepresentation.”). Thus, given the facts
12   of this case, state express warranty laws do not conflict with California law where
13   reliance is not required, where consumers must be exposed to the representations, or
14   where there is a requirement that representations be material to reasonable
15   consumers.
16            Delaware,6 D.C.,7 and Kansas8 do not require reliance.
17            In Ohio9 and Virginia,10 no actual reliance is required. Rather, consumers
18   must only have been exposed to the express warranties such that the representations
19

20

21   6
       See Pack & Process, Inc. v. Celotex Corp., 503 A.2d 646, 659 (Del. Super. 1985);
22   Yarusso v. Int'l Sport Mktg., Inc., 1999 WL 463531, at *6 (Del. Super. Apr. 1, 1999).
     7
       See Wetzl v. Capital City Real Estate, LLC, 73 A.3d 1000, 1005 (D.C. Ct. App.
23   2013); Rock Creek Ginger Ale Co. v. Thermice Corp., 352 F. Supp. 522, 526 (D.D.C.
     1971).
24   8
       Kan. Stat. Ann. § 84-2-313 cmt. 3 (West); Young & Cooper, Inc. v. Vestring, 214
25   Kan. 311, 324 (1974).
     9
       See Norcold, Inc. v. Gateway Supply Co., 154 Ohio App. 3d 594, 596, 623-24 (Ohio
26   Ct. App. 2003); Godec v. Bayer Corp., 2011 WL 5513202, at *4-*5 (N.D. Ohio Nov.
     11, 2011), quoting Ohio U.C.C. § 2-313, cmt 3.
27   10
        See In re Hardieplank Fiber Cement Siding Litig., 2013 WL 3717743, at *17 (D.
28   Minn. July 15, 2013); Daughtrey v. Ashe, 243 Va. 73 (1992).
         PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                          14
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 1   form the basis of the bargain.11 Missouri12 and Utah13 require that consumers be
 2   exposed to the representations at issue such that the representation form the basis of
 3   bargain, and that the warranties be objectively material to reasonable consumers. As
 4   such, the laws of each of the foregoing states are not materially different from
 5   California law.
 6         The laws of New Jersey and West Virginia also pose no obstacle to
 7   application of California law based on the facts of this case. See Majdipour v.
 8   Jaguar Land Rover N. Am., LLC, 2013 WL 5574626, at *11-*12 (D.N.J. Oct. 9,
 9   2013) (finding that the express warranty laws of California and New Jersey did not
10   conflict). Like in California, in New Jersey and West Virginia, reliance is presumed
11   and can only be rebutted by a clear showing that the representation was not part of
12   the basis of the bargain.14 Here, that presumption cannot be rebutted because every
13   consumer was exposed to the representation on the label. In fact,
14   consumers will pay a premium for Optic White because of the representations at
15   issue. See supra §II.A, II.C. Further, consumers were deceived into believing that
16   Colgate’s representations were true. Compare Viking Yacht Co, 496 F. Supp. 2d at
17   469 (stating that the reliance presumption can only be rebutted by “clear affirmative
18   proof … that the buyer knew that the affirmation of fact or promise was untrue”)
19   with McCrary, 2014 WL 1779243, at *14 (“Defendant[s] cannot reasonably argue
20
     11
        Godec, 2011 WL 5513202, at *4-5; Providence Vill. Townhome Condo Ass’n v.
21   Allied Plywood Corp., 37 Va. Cir. 1992 (1995).
     12
22      Gannon Joint Venture Ltd. P’ship v. Masonite Corp., 2008 WL 2074107, at *2-3
     (E.D. Mo. May 14, 2008), but see Interco, Inc. v. Randustrial Corp., 533 S.W.2d
23   257, 261 (Mo. Ct. App. 1976) (“[T]he concept of reliance as required in pre-U.C.C.
     warranty cases was purposefully abandoned.”).
24   13
        State by Division of Consumer Protection v. GAF Corp., 760 P.2d 310, 315 (Utah
     1998) citing Utah Code Ann. § 70A-2-313 (1980).
25   14
        Weinstat v. Dentsply Int’l, 180 Cal. App. 4th 1213, 1227 (2010) (noting a
26   “presumption that the seller’s affirmations go to the basis of the bargain”); Michael v.
     Wyeth, LLC, 2011 WL 2150112, at *8 (S.D.W. Va. May 25, 2011) (anticipating that
27   West Virginia’s “high court would follow the rebuttable presumption approach” to a
     finding that that the representation at issue formed part of the basis of the bargain);
28   Viking Yacht Co. v. Composites One LLC, 496 F. Supp. 2d 462, 469 (D.N.J. 2007).
      PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                15
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 1   that a putative class member would purchase a product that does not work”)
 2

 3                                       . Thus, the deep whitening claims at issue clearly
 4   form part of the basis of the bargain, and New Jersey and West Virginia express
 5   warranty laws are not in conflict with California law.
 6         The second element of an express warranty claim that differs from state to
 7   state is contractual privity. None of the states in Plaintiff’s ten-jurisdiction class
 8   require privity.15 Because California’s express warranty law does not differ from the
 9   laws of the nine other jurisdictions in the proposed class, the Court should certify
10   Plaintiff’s ten-jurisdiction express warranty class.
11    IV. THE REQUIREMENTS FOR CERTIFICATION PURSUANT TO FED.
                           R. CIV. P. 23(A), AND 23(B)(3) ARE MET
12
           A.       Numerosity
13
           Colgate does not dispute that the proposed class is “so numerous that joinder
14
     of all members is impracticable.” See Fed. R. Civ. P. 23(a)(1); Class Cert. Stip., Dkt.
15
     No. 45, ¶ 3.
16
           B.       Common Issues of Law and Fact Predominate
17
           The “predominance inquiry tests whether proposed classes are sufficiently
18
     cohesive to warrant adjudication by representation.” Amchem Prods, Inc. v.
19
     Windsor, 521 U.S. 591, 623 (1997). As the Supreme Court recently emphasized:
20
          When one or more of the central issues in the action are common to
21        the class and can be said to predominate, the action may be considered
          proper under Rule 23(b)(3) even though other important matters will
22        have to be tried separately, such as damages or some affirmative
          defenses peculiar to some individual class members.
23   15
       Hauter v. Zogarts, 14 Cal. 3d 104, 115, n.8 (1975); S&R Assocs., L.P., III v. Shell
24   Oil Co., 725 A.2d 431, 437 (Del. 1998); Picker X-Ray Corp. v. Gen. Motors Corp.,
     185 A.2d 919, 923 (Mun. Ct. App. D.C. 1962); Kan. Stat. Ann. § 50-639(b) (West);
25   Scheuler v. Aamco Transmissions, Inc., 1 Kan. App. 2d 525, 528 (Kan. Ct. App.
     1977); Worley v. P&G Mfg. Co., 241 Mo. App. 1114, 1122 (Mo. Ct. App. 1952);
26   Alloway v. Gen. Marine Indus., L.P., 149 N.J. 620, 642 (1997); Chic Promotion, Inc.
     v. Middletown Sec. Sys., Inc., 116 Ohio App. 3d 363, 688 N.E.2d 278, 282 (Ohio
27   1996); State by Division of Consumer Protection v. GAF Corp., 760 P.2d 310, 315
     (Utah 1988); Fentress Families Trust v. Va. Elec. & Power Co., 81 Va. Cir. 67, 76
28   (Va. Cir. Ct. 2010); Dawson v. Canteen Corp., 158 W. Va. 516, 519 (1975).
      PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                16
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 1   Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (citations omitted).
 2   For a finding of predominance, the “claims must depend on a common contention”
 3   that “is capable of classwide resolution – which means that determination of its truth
 4   or falsity will resolve an issue that is central to the validity of each one of the claims
 5   in one stroke.” Wal-Mart Stores Inc., v. Dukes, 131 S.Ct. 2541, 2551 (2011). Here,
 6   the predominance requirement is easily met. See Amchem Prods., Inc., 521 U.S. at
 7   623 (“Predominance is a test readily met in certain cases alleging consumer …
 8   fraud.”).
 9                1.     Common Questions of Fact Predominate
10         Common questions of fact predominate because Plaintiff’s and the class
11   members’ claims each arise from the same deep whitening misrepresentations. See
12   e.g., Class Cert. Stip., Dkt. No. 45, ¶ 5 (stating that, during the class period, OW
13   labeling included a “Deeply Whiten” claim); ¶¶ 9-10 (stating that, during the class
14   period, OW Platinum labeling included a “Deeply Whitens” claim). The
15   determination of the following common questions of fact will resolve issues central
16   to the validity of Plaintiff’s and the class members’ claims in a single stroke: (i)
17   whether Colgate represented that users could deeply whiten their teeth by using
18   Optic White; (ii) whether Colgate’s deep whitening representations were material to
19   class members’ decision to purchase Optic White; (iii) whether Colgate’s
20   representations were false and misleading because Optic White does not go beyond
21   surface stain removal, and does not deeply whiten teeth; and (iv) whether class
22   members were damaged by purchasing Optic White based on false and misleading
23   whitening representations. Each of these questions can be answered with common
24   evidence as described above. See supra § II.A-II.C. Accordingly, “the common,
25   aggregation-enabling, issues in the case are more prevalent” than any “non-common,
26   aggregation-defeating, individual issues.” See Tyson Foods, 136 S. Ct. at 1045.
27
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                 17
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 1
                  2.     Common Questions of Law Predominate for a
                         Ten-Jurisdiction Express Warranty Class
 2         Common questions of law predominate for the members of the ten-jurisdiction
 3   breach of express warranty class because Plaintiff excluded state express warranty
 4   laws that differed from California law in any material way. See supra § III; see also
 5   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022-23 (9th Cir. 1998) (finding by the
 6   Ninth Circuit that “idiosyncratic differences” between state laws do not
 7   “predominate over shared claims”). As discussed above, common questions of law
 8   for a ten-state class include a requirement that a warranty label form part of the basis
 9   of the bargain, a requirement that representations be material to reasonable
10   consumers, and a rebuttable presumption that the representations formed part of the
11   basis of the bargain. See supra § III; Astiana, 291 F.R.D. at 505 (finding that
12   common issues predominated for claims of breach of express warranties on labels);
13   Yamada v. Nobel Biocare Holding AG, 275 F.R.D. 573, 576, 581 (C.D. Cal. 2011).
14   Additionally, class-wide damages can be tied to Plaintiff’s theory of liability such
15   that “a common nucleus of potential legal remedies dominates this litigation.” See
16   Hanlon, 150 F.3d at 1023; supra § II.C (showing compliance with Comcast).
17
                  3.     Common Questions of Law Predominate Under
18                       California Consumer Protection Claims
           Common questions of law also predominate with respect to Plaintiff’s CLRA,
19
     UCL, and FAL claims brought on behalf of herself and California class members.
20
     The CLRA makes it unlawful to use “unfair methods of competition and unfair or
21
     deceptive acts or practices” in the sale of goods or services to a consumer. Cal. Civ.
22
     Code § 1770. Under the CLRA, while individual reliance by the Plaintiff is required,
23
     reliance may be inferred as to the entire class if the representations were objectively
24
     material. In re Steroid Hormone Prod. Cases, 181 Cal.App.4th 145, 157 (2010);
25
     Mass. Mut. Life Ins. Co. v. Sup. Ct., 97 Cal. App. 4th 1282, 1293 (2002). Evidence
26
     of the materiality of the “Deeply Whiten(s)” statements is manifest. See supra §
27
28
     II.A; Kwikset, 51 Cal.4th at 332-33.
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                               18
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 1         Under the “fraudulent” prong of the UCL and FAL, Plaintiff must demonstrate
 2   her individual reliance on Colgate’s labeling claims resulted in injury in fact, In re
 3   Tobacco II Cases, 46 Cal.4th 298, 325-27 (2009), and show that “members of the
 4   public are likely to be deceived” by Colgate’s misrepresentations, which is an
 5   objective test subject to common proof. See Williams v. Gerber Products Co., 552
 6   F.3d, 934, 938 (9th Cir. 2008). For class members, relief “is available without
 7   individualized proof of deception, reliance and injury.” Stearns v. Ticketmaster
 8   Corp., 655 F.3d 1013, 1020 (9th Cir. 2011) (citing Tobacco II, 46 Cal. 4th at 320).
 9   Plaintiff can prove that she relied on Colgate’s false and misleading representations
10   and that those representations were objectively material to the class. See Dean Decl.
11   at ¶¶ 4-5; supra § II.A.
12         Under the “unfair” prong of the UCL, “[t]he court must weigh the utility of the
13   defendant’s conduct against the gravity of the harm to the alleged victim ...” Motors,
14   Inc. v. Times Mirror Co., 102 Cal. App. 3d 735, 740 (1980); Gafcon, Inc. v. Ponsor
15   & Assocs., 98 Cal. App. 4th 1388, 1425 n. 15 (2002) (same). Under the “unlawful
16   prong,” unlawful business acts include “any practices forbidden by law,” which
17   includes Colgate’s breach of express warranties and violation of the CLRA. See
18   Rush v. Nutrex Research, Inc., 2012 WL 2196144, at *8 (N.D. Cal. June 13, 2012);
19   Valazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
20   Here, again, these are inquiries common to all California class members. The harm
21   resulting from the purchase of the misrepresented products is not unique to Plaintiff.
22          C.    Typicality
23         Plaintiff satisfies the typicality requirement of Rule 23(a)(3). “The test of
24   typicality is whether other members have the same or similar injury, whether the
25   action is based on conduct which is not unique to the named plaintiffs, and whether
26   other class members have been injured by the same course of conduct.” Hanon v.
27   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (citation omitted). The
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                 19
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 1   typicality requirement is “permissive” and requires only that the representative’s
 2   claims are “reasonably coextensive with those of the absent class members; they
 3   need not be substantially identical.” Hanlon, 150 F.3d at 1020.
 4         In this case, Plaintiff’s claims arise from the same material facts – the sale of
 5   Optic White based on misleading and inaccurate “Deeply Whiten(s)” representations
 6   – and are identical to those of the Class members. In 2014, Plaintiff purchased Optic
 7   White numerous times from Walgreens and Target stores in Fontana, California. See
 8   Dean Decl. ¶ 3. Common evidence shows that Plaintiff was exposed to the same
 9   misleading “Deeply Whiten(s)” representations as the Class because Colgate made
10   “Deeply Whiten(s)” misrepresentations on the labels of all of the Optic White
11   products at issue. See Dean Decl. ¶ 5 (stating that she purchased Optic White based
12   on statements made on the product packaging); Dean Decl. Ex. A. Thus, the
13   typicality requirement is satisfied because other Class “members have the same or
14   similar injury” and the “action is based on conduct which is not unique to the named
15   [Plaintiff].” See Wolin v. Jaguar Land Rover N. Amer., LLC, 617 F.3d 1168, 1174-
16   75 (9th Cir. 2010).
17
           D.     Adequacy of Representation
18         The “due process touchstone of adequacy and fairness of representation must
19   be judged in light of … the alternatives to class representation available.” Blackie v.
20   Barrack, 524 F.2d 891, 910 (9th Cir. 1975). Rule 23 “requires adequate
21   representation. The alternative may be none at all.” Id. at n.26. Here, Plaintiff is an
22   adequate representative because she is a member of the Class she seeks to represent,
23   she shares the same claims and interests in obtaining relief as all other Class
24   members, and she has no conflicts of interest with other Class members. See, e.g.,
25   Brown v. Brewer, 2009 WL 1574556, at *4-*5 (C.D. Cal. May 29, 2009).
26         Plaintiff intends to fairly and adequately represent the interests of the Class.
27   Dean Decl. at ¶ 10. Plaintiff’s individual and class claims arise from Colgate’s same
28
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 1   misconduct of falsely labeling and advertising Optic White. Id. at ¶¶ 4-7. Plaintiff
 2   seeks remedies equally applicable and beneficial to the Class. Id. at ¶ 10. Plaintiff
 3   has no conflicts of interest with the proposed Class and has demonstrated her
 4   adequacy through her participation thus far in litigation. Plaintiff has searched for
 5   documents relevant to this action, responded to Colgate’s discovery demands,
 6   reviewed documents filed on her behalf, and further understands that she may be
 7   asked to testify at a deposition and ultimately at a trial in this case. Id. at ¶ 9.
 8   Further, given the expense and complexity of this litigation, the alternative to
 9   representation by Plaintiff is no representation at all. Plaintiff is clearly an adequate
10   representative.
11          Rule 23(g) also requires that a district court appoint class counsel for any class
12   that is certified. See Fed. R. Civ. P. 23(g)(1)(A). Plaintiff is represented in this case
13   by Bursor & Fisher, P.A. and Levi & Korsinsky, LLP, prominent law firms with
14   extensive experience in complex and class action litigation. See Exs. 109-110 (firm
15   resumes). Neither firm has any conflicts of interest with the Class. Persinger Decl. ¶
16   28. Both firms intend to continue to vigorously prosecute this action. Id. These
17   facts demonstrate that proposed Class counsel will fairly and adequately represent
18   the interests of the Class. See e.g., Melgar v. Zicam, 2014 WL 5486676, at *2 (E.D.
19   Cal. Oct. 29, 2014); Forcellati, 2014 WL 1410264, at *11.
20                                    V. SUPERIORITY
21         Absent a class action most class members in this case will not recover at all.
22   See, e.g., Culinary/Bartender Trust Fund v. Las Vegas Sands, Inc., 244 F.3d 1152,
23   1163 (9th Cir. 2001) (“If plaintiffs cannot proceed as a class, some – perhaps most –
24   will be unable to proceed as individuals because of the disparity between their
25   litigation costs and what they hope to recover.”). As explained by the Ninth Circuit:
26         [The superiority] [d]etermination necessarily involves a comparative
           evaluation of the alternative mechanisms of dispute resolution. In this
27         instance, the alternative methods of resolution are individual claims
           for a small amount of consequential damages …. Litigation costs
28
     PLAINTIFF’S MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION                                21
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 1         would dwarf potential recovery. In this sense, the proposed class
           action is paradigmatic. A fair examination of alternatives can only
 2         result in the apodictic conclusion that class action is clearly the
           preferred procedure in this case.
 3
     Hanlon, 150 F.3d at 1023; see also Blackie, 524 F.2d at n. 26. Similarly, the
 4
     Supreme Court emphasized that the policy “at the very core of the class action
 5
     mechanism is to overcome the problem that small recoveries do not provide the
 6
     incentive” for individuals to bring claims. Amchem Prods. Inc., 521 U.S. at 617.
 7
     Further, “[c]lass action certifications to enforce compliance with consumer
 8
     protection laws are desirable and should be encouraged.” Ballard v. Equifax Check
 9
     Servs., Inc., 186 F.R.D. 589, 600 (E.D. Cal. 1999).
10
           Here, a tube of Optic White costs between $3-$4. See e.g., Colgate’s
11
     Responses to Interrogatory No. 4, Ex. 111. Such a small recovery does not provide
12
     an incentive for consumers to bring individual claims. Guido v. L’Oreal, USA, Inc.,
13
     2013 WL 3353857, at *17 (C.D. Cal. July 1, 2013) (“[G]iven that Serum sells for
14
     less than $10.00 per bottle, ‘there is no realistic alternative to a class action’” (citing
15
     Weiner v. Dannon Co., Inc., 255 F.R.D. 658, 672 (C.D. Cal. 2009)). Because it
16
     would not be economically feasible to obtain relief for each class member given the
17
     small size of each class member’s claim and the alternative for class members is no
18
     recovery, a class action is unquestionably the superior method of adjudication. See
19
     e.g., Thurston v. Bear Naked, Inc., 2013 WL 5664985, at *11 (S.D. Cal. Jul. 30,
20
     2013); Johnson v. Gen. Mills, Inc., 275 F.R.D. 282, 289-90 (C.D. Cal. 2011);
21
     Astiana, 291 F.R.D. at 506-07.
22
           A.     The Class Is Ascertainable
23
           Although not mentioned in Rule 23(a), a party moving for class certification
24
     must also demonstrate that the class is ascertainable. McCrary, 2014 WL 1779243,
25
     at *3. As this Court has recognized, courts in the Ninth Circuit have repeatedly held
26
     that a class is ascertainable if the class definition includes objective criteria by which
27
     consumers can determine if they are members of the class. Id. at *7-*9; see also e.g.,
28
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 1   Melgar, 2016 WL 1267870, at *5; Forcellati, 2014 WL 1410264, at *5. This Court
 2   has further explained that: “In this Circuit, it is enough that the class definition
 3   describes a set of common characteristics sufficient to allow a prospective plaintiff to
 4   identify himself or herself as having a right to recover based on the description.”
 5   McCrary, 2014 WL 1779243 at *8 (citations omitted). Accordingly, courts in this
 6   circuit routinely certify classes for low-cost consumer products where purchasers are
 7   unlikely to have retained receipts. See e.g. id.; Lilly, 308 F.R.D. at 238 (“[I]t is
 8   precisely in circumstances [where few people retain receipts], where the injury to
 9   any individual consumer is small, but the cumulative injury to consumers as a group
10   is substantial, that the class action mechanism provides one of its most important
11   social benefits.”).16 For example, this Court certified a class of supplement
12   purchasers because “the class definition clearly define[d] the characteristics of a
13   class member by providing a description of the allegedly offending product and the
14   eligible dates of purchase,” and a class member “would have sufficient information
15   to determine whether he or she was an Elations customer who viewed the specified
16   label during the stated time period.” McCrary, 2014 WL 1779243, at *8.
17         Here, Plaintiff has precisely defined the proposed Class based on objective
18   criteria. The proposed class includes individuals who purchased Optic White labeled
19   with the representations at issue, in ten jurisdictions, after October 1, 2013. The
20   proposed class also includes individuals who purchased Optic White Platinum
21   labeled with the representations at issue, in ten jurisdictions, after February 1, 2014.
22   Plaintiff has specifically defined the class period to conform to the dates when
23   Colgate released the Optic White labels with the “Deeply Whiten(s)” claims at issue.
24   See Class Cert. Stip., Dkt. No. 45, ¶¶ 1-2, 5, 9-10. Thus, putative class members
25

26   16
       See also e.g., Ries v. Arizona Beverages USA LLC, 287 F.R.D. 523, 535 (N.D. Cal.
27
     2012) (noting that if proof of class membership was required for certification, “there
     would be no such thing as a consumer class action”); Astiana, 291 F.R.D. at 500;
28   Forcellati, 2014 WL 1410264, at *5.
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 1   have sufficient information to determine if he or she purchased the Optic White
 2   toothpaste at issue during the stated time period. As such, the Class is ascertainable.
 3          While “the fact that particular persons may make false claims of membership
 4   does not invalidate the objective criteria” required for a finding of ascertainability,
 5   proper notice and claims administration procedures will operate to minimize any
 6   consumer confusion or fraud. See McCrary, 2014 WL 1779243, at *8 (“sufficient
 7   notice can cure confusion”); Forcellati, 2014 WL 1410264, at *7 (explaining that
 8   claims administrators “screen[] out potential bad claims” through a thorough fraud
 9   analysis during the claims administration process); id at n.3.
10          Moreover, under Rule 23, individual notice must only be provided to class
11   members “who can be identified through reasonable effort.” Rule 23(c) also
12   implicitly assumes that some class members cannot be identified. See Manual For
13   Complex Litigation, Fourth § 21.311, at 292 (Fed. Jud. Center 2004) (“[I]f no
14   records were kept of sales … publication notice may be necessary.”). Thus, in cases
15   where a defendant cannot directly identify class members, courts in the Ninth Circuit
16   hold that other types of notice are administratively feasible and sufficient. See, e.g.,
17   Galvan v. KDI Distribution Inc., 2011 WL 5116585, at *4 (C.D. Cal. Oct. 25, 2011).
18          Here, Plaintiff will propose a comprehensive notice plan consisting of (1)
19   internet notice and/or publication notice; and (2) direct notice where possible. While
20   Colgate cannot directly identify most class members, Colgate keeps records of the
21   retailers it sells its products to.                                       Colgate’s
22   retailers can identify consumers that purchased Optic White so that direct notice can
23   be sent to class members. See, e.g., Exs. 112-117 (declarations from retailers). In
24   short, administration of a class action would be straightforward and manageable.
25          VI. THE REQUIREMENTS OF RULE 23(B)(2) ARE SATISFIED
26          Alternatively, the Court should certify an injunctive relief class. Rule 23(b)(2)
27   permits certification of an injunctive relief class where the prerequisites of Rule
28
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 1   23(a) are satisfied and “the party opposing the class has acted or refused to act on
 2   grounds that apply generally to the class, so that final injunctive relief or
 3   corresponding declaratory relief is appropriate respecting the class as a whole.”17
 4         Certification under Rule 23(b)(2) is appropriate in this case. The Court has
 5   already determined that Plaintiff has standing to bring her claim for injunctive relief.
 6   See Dean, 2015 WL 3999313, at *8 (following Ries, 287 F.R.D. at 533 and
 7   Henderson v. Gruma Corp., 2011 WL 1362188, at *7 (C.D. Cal. Apr. 11, 2011)).
 8   Colgate has acted on grounds generally applicable to the class by including “Deeply
 9   Whiten(s)” claims on labels and by refusing to remove those claims. See Ex. 118 at
10   P&G 799 (showing Colgate’s refusal to remove the “Deeply Whiten(s)” claims).
11   Plaintiff’s request for injunctive relief can be satisfied “with indivisible equitable
12   relief that benefits all class members at once,” by requiring that Colgate stop making
13   the false and misleading statements. Ries, 287 F.R.D. at 541. This “case exemplifies
14   the kind of action that may be appropriate for certification under Rule 23(b)(2)”
15   because Plaintiff seeks relief from false claims, and removal of the claims would
16   benefit all class members at once. See id.; Lanovaz v. Twinings N. Am. Inc., 2014
17   WL 1652338, at *4-*5 (N.D. Cal. Apr. 24, 2014); Lilly v. Jamba Juice Company,
18   2015 WL 1248027, at *3-*5 (N.D. Cal. Mar. 18, 2015).
19                               VII. CONCLUSION
20         Plaintiff requests that the Court certify the Class defined herein, appoint her as
21   Class Representative, and Bursor & Fisher and Levi & Korsinsky as Class Counsel.
22

23

24

25

26
     17
27
       Certification under Rule 23(b)(2) does not require predominance, superiority, or
     ascertainability. See Ries, 287 F.R.D. at 541; In re Yahoo Mail Litig., 308 F.R.D.
28   577, 597 (N.D. Cal. 2015).
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 1   Dated: April 29, 2016          BURSOR & FISHER, P.A.
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